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15
                                UNITED STATES DISTRICT COURT
16                                   DISTRICT OF IDAHO
17
     DUSTIN INGRAM, FELISHA               ) Case No.
18
     INGRAM, and L.I., Z.I., and D.I.,    )
19   minors, by and through their Guardian) COMPLAINT FOR RELIEF
20   ad Litem, Seth Downham,              ) UNDER FRCP 60(d), DAMAGES
                                          ) AND INJUNCTIVE RELIEF
21                Plaintiffs,             ) 1. Monell related claims (42 USC
22   v.                                   ) §1983)
                                          ) 2. Injunctive Relief.
23
     ADA COUNTY, and DOES 1 through )
24   20, Inclusive,                       )
25
                                          )
                              Defendants. ) JURY TRIAL REQUESTED
26                                        )
27                                        )
28


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 1   Plaintiffs allege as follows:
 2   Rule 60(D) Requests
 3     1.     Plaintiffs submit this Independent Action pursuant to the Federal Rule of Civil
 4     Procedure 60(d) requesting the Court to relieve Plaintiffs from the District Court’s
 5     Order entered in the United States District Court Case No. 1:19-cv-00308-DCN,
 6
       entitled Dustin Ingram et al. v. Katie Mouser et al. (herein “Underlying Action” or
 7
       “UA”) on February 1, 2021 (UA Dkt. 83) granting Defendant Ada County’s Motion
 8
       to Dismiss (UA Dkt. 68) Plaintiffs’ Second Amended Complaint’s (UA Dkt. 64)
 9
       Fourth cause of action for Monell related claims (42 USC §1983) against Ada
10
       County.
11
     Applicable Allegations in Underlying Action
12
       2.     Plaintiffs assert that the statutory or other basis for the exercise of jurisdiction
13
14
       in this United States Federal District Court for this Independent Action, and the

15     Underlying Action, is based upon a federal question asserted under 42 U.S.C. §1983,

16     due to Plaintiffs’ claims of violations of their rights under the United States
17     Constitution and laws, including those under the Fourth and Fourteenth Amendments
18     which Plaintiffs request be tried and heard before a jury.
19     3.      At all relevant times mentioned in this Complaint, Plaintiffs were residents of
20     the State of Idaho. Seth Downham is the appointed Guardian ad Litem for minors
21     L.I., Z.I., and D.I. in this action.
22     4.     At all times mentioned herein, Defendant Ada County was and is a public
23     entity organized and existing in the State of Idaho. Ada County Sheriff’s Department
24     (ACSD) is a subdivision of Ada County. (Ada County was substituted for Ada
25
       County Sheriff’s Department (ACSD) in the Underlying Action pursuant to the
26
       Court’s Order on Plaintiffs Unopposed Motion to Substitute (UA Dkt. 80)).
27
       5.     Plaintiffs are ignorant of the true names and capacities of those Defendants
28
       sued herein as Does 1-20, inclusive, and therefore sue them by such fictitious names.

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 1     Plaintiffs will amend this Complaint to show the true names and capacities of said
 2     DOE defendants when the same are ascertained.
 3     6.    Plaintiffs are informed and believe and, based upon such information and belief
 4     allege that each of the Defendants is responsible in some manner for the events and
 5     happenings referred to herein and was the legal cause of injury and damages to
 6
       Plaintiffs as herein alleged.
 7
       7.    Plaintiffs are informed and believe and, based upon such information and belief
 8
       allege, that, at all times herein mentioned, each and every Defendant was the agent
 9
       and/or employee of their co-defendants, and each of them, acting at all relevant times
10
       herein under color of the authority of a governmental entity under the statutes,
11
       ordinances, regulations, customs and usage of the State of California and/or the
12
       United States Constitution and related laws.
13
14
       8. DUSTIN INGRAM (“DUSTIN”) is the natural father of Minors L.I. (born 2008),

15     Z.I. (born 2010), and D.I. (born 2012). FELISHA INGRAM (“FELISHA”) is the

16     natural mother of said Minors.
17     9. In August 2017, the Ingram family was living in an RV in a park outside of
18     Boise, Idaho. Dustin was working two jobs to provide income and support for his
19     family. Dustin was trying to earn enough money to get the family out of the RV and
20     into an apartment, as it was difficult for the family of 5 to live in the RV.
21   Removal of the Children from the Care and Custody of their Parents
22     10. On August 11, 2017, the Idaho Department of Health & Welfare Family and
23     Children’s Services Division (IDHW) received a referral from a neighbor of the
24     Ingrams for possible physical abuse regarding one of the Ingram family’s three
25
       children.
26
       11. In the late afternoon of August 11, 2017, a social worker from IDHW and two
27
       Ada County Sheriff Deputies went to the Ingram family trailer, where they spoke
28
       with Felisha. Felisha informed the social worker and the deputies that minor Z.I. had

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 1   received a black eye from his brother, and brought Z.I. out for the officials to question
 2   and observe. During this time period, Z.I. confirmed that it was his brother who
 3   caused the bruise. Felisha also explained that a small mark on L.I.’s hand was from
 4   hot water that splashed onto her hand when she pulled a cup of hot water from the
 5   microwave. In the fact of additional questioning by the officials, Felisha informed
 6
     them she would prefer they come back when her husband was at home. The social
 7
     worker and deputies left the premises, leaving the children in the care and custody of
 8
     their parents.
 9
     12. On August 15, 2017, Ada County Sheriff Deputy Jessica Johnson (“Johnson”)
10
     spoke with IDHW social worker Katie Mouser (“Mouser”) about the referral. During
11
     this conversation, Mouser informed Johnson about the remnants of the bruise on
12
     Z.I.’s face from his brother. Johnson determined they would contact the family the
13
14
     following day.

15   13. When Mouser and Johnson arrived at the trailer park on August 17, 2017, the

16   children had been playing outside in the dirt all morning. Felisha and Dustin were
17   cooperative and answered all of Johnson’s questions. They also allowed Johnson and
18   Mouser to enter and inspect their trailer.
19   14. Approximately 15 minutes into their visit, Johnson stated that she intended to
20   declare the children to be in imminent danger due solely to the condition of the trailer,
21   which she found to be cluttered and dirty. Approximately 16 minutes later, during
22   which time the children continued to enter and exit the trailer, Johnson informed
23   Dustin and Felisha that she was taking the children “So based not so much on the
24   referral but based on the condition of the home.” Johnson verified in her report that
25
     she declared the children in imminent danger based solely on the condition of the
26
     trailer. Johnson informed Dustin and Felisha that she did not need a warrant to
27
     remove the children due to the “toxic” condition of the trailer.
28


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 1     15. After informing the Ingrams that she was taking their children, Johnson continued
 2     to allow the children to enter and exit the trailer without interference for another 50
 3     minutes, during part of which time she left to go get Mouser’s vehicle.
 4     16. Johnson did not, at any time, consider obtaining a warrant to remove the Ingram
 5     children, or discuss the issue of a warrant with Mouser. In addition, Johnson did not
 6
       consider any less restrictive alternatives to taking the children.
 7
     Medical Procedures, including Examinations, and Parental Presence at such Procedures
 8
       17. After informing Felisha and Dustin that their children were being removed,
 9
       Johnson made arrangements to have the children examined at St. Luke’s Children at
10
       Risk Evaluation Services (“CARES”) unit.
11
       18. Johnson did not consider the possibility of obtaining an order or warrant for these
12
       examinations. Johnson did not obtain a signed medical release of information form or
13
14
       any other consent from either parent. Instead, she called the CARES unit and

15     informed them of her belief the children were the victims of child abuse or neglect.

16     There was no urgent medical condition that required the examinations.
17     19. Johnson did not inform either Felisha or Dustin that the children would be
18     examined and did nothing to provide Felisha and Dustin with notice of and an
19     opportunity to be present at the examinations.
20     20. At the CARES unit, complete physical examinations were conducted on each of
21     the children, including examination of their genitals. These examinations were
22     conducted without court order or warrant, and without notice to, consent of, or the
23     presence of either Dustin or Felisha.
24     21. The forensic examinations conducted revealed that the children were dirty.
25
       However, no signs or symptoms were found which were consistent with abuse or
26
       severe neglect.
27
       22. On August 17, 2017, a Shelter Care hearing was conducted and based upon
28
       Johnson’s testimony, the juvenile court continued the detention of the children. The

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 1     Juvenile Court did not order or authorize further examinations or interviews of the
 2     children.
 3     23. Despite the lack of court order, on August 18, 2017, Johnson scheduled
 4     interviews, psychosocial assessments and forensic medical examinations to be
 5     conducted at CARES for all three children. Johnson scheduled these forensic
 6
       examinations and interviews for the purpose of finding evidence of abuse and/or
 7
       neglect.
 8
       24.   Johnson did not tell Felisha or Dustin that she was scheduling the interviews,
 9
       psychosocial assessments or medical examinations. Johnson did not at any time
10
       provide Felisha or Dustin with the opportunity to be present or nearby when these
11
       examinations were conducted. Johnson did not ask Felisha or Dustin to sign a
12
       consent form to allow the examinations to occur. Johnson did not have a court order
13
14
       for the examinations.

15   Applicable Pleadings in Underlying Action Regarding Rule 60(d)

16     25.   Plaintiffs filed a Motion for Partial Summary Judgment in the Underlying
17     Action (UA Dkt. 153) which included a Motion for Reconsideration of the aforesaid
18     District Court’s Order on Defendant Johnson’s Motion to Dismiss Plaintiffs Second
19     Amended Complaint’s Monell Fourth Cause of Action dismissing Plaintiffs’ Monell
20     claim against Ada County. Said motion was made under Federal Rule of Civil
21     Procedure 60(d) as to Ada County’s (a) failure to have a policy, procedure, practice or
22     custom, and to train its officers, as to the removal of children based upon reasonable
23     cause to believe that a child is in imminent danger of serious bodily injury in the time
24     it would take to obtain a warrant using the least restrictive measures in doing so; (b)
25
       failure to have a policy, and to train their officers, that a court order, parental consent,
26
       or urgent medical need was required before any medical procedure, including
27
       examinations, could be performed to a child in protective custody; and (c) failure to
28
       have a policy, and to train their officers, that children and parents have the right for a

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 1   parent to be present at, or nearby, during medical procedures, including examinations
 2   when performed to a child in protective custody.
 3   26.    Plaintiffs based that motion for reconsideration, and this Independent Action,
 4   on the Declaration of Defendant Johnson and her supervisor sergeant, now captain,
 5   Jared Watson (see UA Dkt.s 128-1 & 128-2) confirming such failures, and violations,
 6
     to the constitutional rights of Plaintiffs.
 7
     27.    The District Court in the Underlying Action entered its Order granting
 8
     Plaintiffs’ Motion for Summary Judgment against Defendant Johnson and denying
 9
     Defendant Johnson’s Motion for Summary Judgment (UA Dkt. 180, hereafter
10
     “Summary Judgments Order”) confirming that Defendant Johnson violated of all
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     Plaintiffs Fourth and Fourteenth Amendment rights as to the warrantless removal of
12
     the children, the medical exams of the children (both sets of examinations) and lack
13
14
     of parental presence during the children’s medical examinations.

15   28.    The District Court’s Summary Judgments Order (UA Dkt. 180) denied

16   Plaintiffs’ Rule 60(d) Motion to Reconsider as procedurally defective but confirmed
17   that Rule 60(d) allows Plaintiff to file an independent action for relief from, or to set
18   aside, the Court’s prior order. That Summary Judgments Order also addressed that
19   Plaintiffs did show that Ada County had a removal policy outlining that children may
20   only be removed without a warrant when they are in imminent danger of serious
21   bodily harm. However, the District Court’s Summary Judgments Order did not
22   address Plaintiffs Monell claims that Ada County did not have any practice, or
23   training of its officers, on their removal policy; nor did it address the lack of a policy,
24   procedure, practice or custom, or training thereto, as to the clearly established
25
     constitutional requirements of obtaining parental consent or a warrant, in the absence
26
     of urgent medical need, before medical procedures, including examinations, could be
27
     performed to children in protective custody, or as to the constitutional rights of
28


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 1   parents and children to have a parent present, or nearby, when medical procedures,
 2   including examinations, are performed to children in protective custody.
 3   29.   Plaintiffs assert that Defendant Johnson’s Motion for Summary Judgment’s
 4   Declarations of Defendant Johnson and her supervisor, sergeant, now captain, Jared
 5   Watson (see UA Dkt.s 128-1 & 128-2), along with Ada County’s policy and
 6
     procedures, or lack thereof, obtained in discovery, as identified in Plaintiffs’ motion
 7
     and opposition summary judgment filings, confirm that Plaintiffs should be relieved
 8
     from the District Court’s prior order granting Ada County’s Motion to Dismiss
 9
     Plaintiffs’ Monell Claims (UA Dkt. 68).
10
     30.   Said relief should be granted as Defendant Johnson has admitted in her
11
     Declaration that she was not trained by Ada County to evaluate whether the children
12
     would be harmed in the time it would take to get a court order, or on the process to
13
14
     get a warrant to remove a child from a hazardous neglectful home. Defendant

15   Johnson also admits she scheduled medical examinations for the children on August

16   17, 2017, and on August 25th and September 6th, 2017, but was not aware of any
17   policies or practices, or training thereon, by Ada County regarding the constitutional
18   requirements of obtaining parental consent or warrant, in the absence of urgent
19   medical need, before a child in protective custody could be submitted to medical
20   procedures, including examinations, or as to the constitutional right of parents and
21   children to have a parent present, or nearby, when medical procedures, including
22   examinations, are performed to children in protective custody. (See UA Dkt. 128-1).
23   31.   Defendant Johnson’s supervisor Sergeant, now Captain, also confirmed that
24   there was no Ada County policy or training to evaluate whether a child would have
25
     been harmed in the time it would take to obtain a warrant or court order before
26
     removing a child from their parents’ custody. (See UA Dkt. 129-2).
27
     32.   Furthermore, Defendant Johnson has taken the position in her Motion for
28
     Summary Judgment filings that Idaho law and Ada County policy “authorized law

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 1   enforcement to remove children without a warrant when they are in imminent danger,
 2   notwithstanding a determination of whether the children would be harmed in the time
 3   it would take to get a warrant.” (See UA Dkt. 161, p. 18 of 33).
 4   33.   Defendant Johnson also asserts (incorrectly) the position that the mere fact the
 5   children were in protective custody eviscerated any constitutional rights of the parents
 6
     and children, regarding any requirement for parental consent, order, or urgent medical
 7
     need before conducting medical procedures, including examinations, or any
 8
     requirement for parents to be present or nearby during such medical procedures,
 9
     including examinations. (See UA Dkt. 161, p. 19 to 21 of 33).
10
     34.   Plaintiffs assert that any “demanding standard” under Rule 60(d) for relief from
11
     the Court’s order dismissing Plaintiffs Monell cause of action against Ada County is
12
     met by the fact of Defendant Johnson’s and her supervisor’s declarations’ admissions
13
14
     that Ada County does not provide any training on the constitutional requirements for

15   warrantless removal of children, and also that there are no Ada County policies,

16   procedures, practices or customs, much less training, on the constitutional
17   requirements for conducting medical procedures, including examinations, and the
18   right of children and parents for parents to be present, or nearby, during those
19   procedures.
20   35.   Defendant Johnson’s unconstitutional actions, confirmed by the District Court
21   in its Summary Judgments Order, in violation of Plaintiffs’ Fourth and Fourteenth
22   Amendment rights, was a proximate result of not only Defendant Johnson’s lack of
23   knowledge of clearly established constitutional law, but also the lack of any practices
24   and/or polices, and any training thereon, as to the applicable constitutional
25
     requirements, referred to above, by her employer Ada County.
26
     36.   A grave miscarriage of justice will result to Plaintiffs if the District Court does
27
     not relieve Plaintiffs from the Court’s Motion to Dismiss Order as not doing so will
28
     prevent Plaintiffs from pursuing their Monell claims against Ada County when the

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 1   actions of Defendant Johnson were clearly due to the unconstitutional policies,
 2   procedures, practices and/or customs, and lack of training thereto, of Ada County
 3   thorough it’s deliberate indifference to the constitutional rights of these, and other,
 4   parents and children (which were clearly established constitutional law by August of
 5   2017, as this Court has already determined in its Summary Judgments Order). A
 6
     Judgment/Finding as to Defendant Johnson alone, without a Monell finding against
 7
     Ada County, does not ensure a change in Ada County’s policies, procedures, practices
 8
     and customs, and the necessary training thereto, that protects the Fourth and
 9
     Fourteenth Amendment rights of Plaintiffs, and other similar parents and children,
10
     which the District Court has found were violated by Ada County Defendant Johnson.
11
     37.    Furthermore, a grave miscarriage of justice will result to Plaintiffs if the
12
     District Court does not relieve Plaintiffs from the Court’s Motion to Dismiss Order as
13
14
     Defendant Johnson can, and undoubtedly will, assert during the damage phase of any

15   trial in the Underlying Action, that her lack of knowledge of the aforementioned

16   clearly established constitutional law was due to her employer’s, Defendant Ada
17   County herein, failure to implement the applicable policies, procedures, practices
18   and/or customs, and the necessary training thereto, regarding the aforementioned
19   constitutional requirements established to protect the civil rights of parents and
20   children under the Fourth and Fourteenth Amendments which the District Court
21   found Defendant Johnson violated. However, Ada County’s culpability in its failure
22   to implement those policies, procedures, practices and/or customs, and the necessary
23   training thereto, will not be placed before the trier of fact in the Underlying Action
24   and thus Plaintiffs will not be fully compensated for the violations of their
25
     constitutional rights in that Underlying Action unless the Monell claims against Ada
26
     County are allowed in this Independent Action.
27
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 1   38.        Ada County Policies, Procedures, Practices and Customs, and Training (or
 2   Lack Thereof)
 3   39. Ada County, including its Sheriff’s Department, does have a policy or procedure
 4   outlining that children may only be removed without a warrant when they are in
 5   imminent danger of serious injury. However, Ada County has not implemented that
 6
     policy or procedure into any practice or custom, and has not implemented that policy
 7
     or procedure in any training to its officers (as acknowledged in Defendant Johnson’s
 8
     and her supervisor Watson’s declarations referenced herein).
 9
     40. In addition, Ada County, including its Sheriff’s Department, does not train its
10
     officers, including, but not limited to Johnson (one of ACSD’s main officers to
11
     respond to reports of child abuse and/or neglect) on many of the constitutional
12
     requirements surrounding the removal of children. Specifically, Ada County,
13
14
     including its Sheriff’s Department, does not train its officers:

15         a.      On what is required to remove children from the care and custody of their

16         parents without a warrant – i.e., on the need to be able to articulate the reasons
17         why the officers believe the child is in imminent danger of serious bodily harm in
18         the time it would take to obtain a warrant.
19         b.      On the requirement that the officer must consider means less restrictive
20         than removal to protect the children.
21         c.      On the protocol to obtain a warrant or court order to remove children.
22   41. Ada County, including its Sheriff’s Department, also does not have a policy, nor
23   does it train its officers, on the constitutional requirements of obtaining, parental
24   consent or court order, in the absence of urgent medical need, before subjecting a
25
     child in protective custody to medical procedures, including examinations.
26
     42.        Ada County, including its Sheriff’s Department, also does not have a policy,
27
     procedure, practice and/or custom, nor does it train its officers, on the constitutional
28
     requirements of informing parents of a medical procedure, including examinations, of

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 1        a child in protective custody and giving the children and parents the opportunity for a
 2        parent to be present, or nearby, when the child is subjected to medical procedures,
 3        including examinations.
 4        43. Ada County, including its Sheriff’s Department, was deliberately indifferent to
 5        the need to enact policies, procedures, practices and customs, and to implement
 6
          training, on the constitutional requirements listed above, and knew, or should have
 7
          known, that its failure to enact constitutionally adequate policies, procedures,
 8
          practices and customs and/or procedures, and to implement training on such
 9
          constitutional requirements, would lead to unlawful and unconstitutional violations of
10
          parents’ and children’s Fourth and Fourteenth Amendment rights.
11
          44. Ada County, including its Sheriff’s Departments, failure to enact or implement
12
          policies and/or procedures, and failure to train its officers, including Johnson, on the
13
14
          constitutional requirements listed above, was a moving force behind the constitutional

15        violations of the rights of the Plaintiff Ingram parents and children.

16                                  FIRST CLAIM FOR RELIEF
17                                  MONELL RELATED CLAIMS
18
     45.      Plaintiffs reallege, adopt and incorporate as if set forth at length, and to the extent
19
     applicable, all paragraphs set forth hereinabove.
20
     46.      At all relevant times herein, Defendant Ada County, including its Sheriff’s
21
     Department, established and/or followed policies, procedures, practices and/or customs
22
     which were the cause of violation of Plaintiffs’ constitutional rights granted to them
23
     pursuant to 42 U.S.C. §1983, as well as the case of Monell v. New York City Department
24
25   of Social Services, 436 U.S. 658(1978), including those under the Fourth, and

26   Fourteenth Amendments, but not limited to:
27   a.       The practice and custom of detaining and/or removing children from their parents
28   without exigent circumstances (imminent danger of serious bodily harm from that


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 1   parent(s)), without obtaining court order and/or consent of their parent or legal guardian,
 2   and without consideration of less restrictive methods available to protect the child (in
 3   violation of Wallis v. Spencer, 202 F.3d 1126 (9th Cir. 2000); Mabe v. County of San
 4   Bernardino, 237 F.3d 1101 (9th Cir. 2001); Rogers v. County of San Joaquin, 487 F.3d
 5   1288 (9th Cir. 2007), and other applicable case and statutory law);
 6   b.    The policy, procedure, practice and/or custom of conducting medical procedures,
 7   including examinations, on children removed from their parents without urgent medical
 8   need, court order or warrant, or parental consent; and without proper notice to the
 9
     parents, in violation of the Constitutional rights of children and their parents, as
10
     discussed in Wallis v. Spencer, 202 F.3d 1126 (9th Cir.2000), and as confirmed in Mann
11
     v. County of San Diego, 907 F.3d 1154 (9th Cir.2018) and other applicable case and
12
     statutory law).
13
     c.    The policy, procedure, practice and/or custom of conducting medical procedures,
14
     including examinations, to children removed from their parents without proper notice to
15
     the children’s parents and giving them the right to be present, or nearby, when their
16
17
     child was subject to medical procedures including examinations, as discussed in Wallis

18   v. Spencer, 202 F.3d 1126 (9th Cir.2000), Greene v. Camreta, 588 F.3d 1011 (9th

19   Cir.2009), and as confirmed in Mann v. County of San Diego, 907 F.3d 1154 (9th
20   Cir.2018), and other applicable case and statutory law).
21   d.    By acting with deliberate indifference in failing to train its officers, agents and
22   employees in providing the Constitutional protections guaranteed to individuals,
23   including those under the Fourth, and Fourteenth Amendments, when performing the
24   aforesaid actions related to the removal of children, conducting medical procedures,
25   including examinations, and allowing parental presence during medical procedures,
26   including examinations, as more fully described above.
27
     47.   Defendant Ada County, including its Sheriff’s Department, had a duty to
28
     Plaintiffs at all times to establish, implement, and follow policies, procedures, practices

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 1   and/or customs, which confirm and provide for the protections guaranteed to children
 2   and their parents under the United States Constitution, including the Fourth, and
 3   Fourteenth Amendments; to use reasonable care to train its agents, officers, and
 4   employees in such constitutional rights; and to refrain from acting with deliberate
 5   indifference to the Constitutional rights of Plaintiffs herein so as to not cause them the
 6   injuries and damages alleged herein.
 7   48.   Defendant Ada County, including its Sheriff’s Department, breached its duties
 8   and obligations to Plaintiffs, including but not limited to, failing to establish, implement,
 9
     and follow the correct and proper Constitutional policies, procedures, practices and/or
10
     customs, and by its deliberate indifference in failing to train its agents and employees as
11
     to their compliance with such Constitutional safeguards; including by permitting
12
     Johnson to engage in the unlawful and unconstitutional conduct as herein alleged and as
13
     found by the District Court to have violated the rights of Plaintiffs..
14
     49.   Defendant Ada County, including its Sheriff’s Department, knew, or should have
15
     known, that by breaching the aforesaid duties and obligations, it was foreseeable that it
16
17
     would, and did, cause Plaintiffs to be injured and damaged by its wrongful policies,

18   procedures, practices and/or customs, and acts as alleged herein and that such breaches

19   occurred in contravention of public policy and as to its legal duties and obligations to
20   Plaintiffs. Plaintiffs are informed and believe that Defendant Ada County, including its
21   Sheriff’s Department, continues these wrongful policies and acts and will do so unless
22   and until it is enjoined by this Court.
23   50.   These actions, or inactions, of Defendant Ada County, including its Sheriff’s
24   Department, were the moving force behind and a legal cause of injuries to Plaintiffs as
25   alleged herein. As a result, thereof, Plaintiffs have sustained general and special
26   damages, as well as incurring attorney’s fees, costs, and expenses, including those as
27
     authorized by 42 U.S.C. §1988, to an extent and in an amount subject to proof at trial.
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 1                              SECOND CLAIM FOR RELIEF
 2                                   INJUNCTIVE RELIEF
 3   51.   Plaintiffs re-allege, adopt, and incorporate, as if set forth at length, and to the
 4   extent applicable, all paragraphs set forth hereinabove.
 5   52.   As stated herein, Plaintiffs, as citizens and individuals, are protected by the laws
 6   and Constitution of the State of Idaho, as well as those of the United States, including
 7   the Fourth and Fourteenth Amendments thereto of the United States Constitution. These
 8   laws also include, but are not limited to, the legal precedent established by the Ninth
 9
     Circuit decisions in Wallis v. Spencer, 202 F.3d 1126 (9th Cir.2000), Mabe v. San
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     Bernardino County, 237 F.3d 1101 (9th Cir.2001), Rogers v. San Joaquin, 487 F.3d
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     1288 (9th Cir.2007), and Greene v. Camreta, 588 F.3d 1011 (9th Cir.2009), and as
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     confirmed in Mann v. County of San Diego, 907 F.3d 1154 (9th Cir.2018).
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     53.   As stated herein, Defendant Ada County, including its Sheriff’s Department, has
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     wrongfully and unlawfully, and with deliberate indifference to the aforesaid rights of
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     Plaintiffs and to its duties and obligations to Plaintiffs, and parents and children
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17
     similarly situated, practiced and/or adopted policies, procedures, practices and/or

18   customs, and Plaintiffs are informed and believe, continue to practice and/or adopt such

19   policies, procedures, practices and/or customs, which are in violation of the
20   Constitutional rights of Plaintiffs, including the right to be free from governmental
21   interference as to their familial associations and from unreasonable searches or seizures,
22   including, those relating to child abuse allegations and related actions and proceedings
23   in investigations and proceedings as set forth herein.
24   54.   Defendant Ada County, including its Sheriff’s Department, has failed to
25   acknowledge its improper, unlawful, and unconstitutional actions, conduct and policies,
26   procedures, practices and/or customs, at the time of the subject incidents herein, or at
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     any time thereafter, and Plaintiffs are informed and believe, and on that basis allege, that
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     presently Ada County, including its Sheriff’s Department, has not changed or modified

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 1   such actions, conduct, and/or policies, procedures, practices and/or customs, nor
 2   implemented training, to conform to law. As a result, an actual threat of further
 3   violations of parents and children’s constitutional rights continues to exist.
 4   55.   Defendant Ada County, including its Sheriff’s Department’s, wrongful and
 5   unlawful conduct, actions and/or policies, procedures, practices and/or customs, unless
 6   and until enjoined and restrained by order of the court, will cause, and continue to
 7   cause, great and irreparable injury to Plaintiffs, and other parents and children, in that
 8   Defendants will continue to act in accordance with said unlawful policies, procedures,
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     practices and/or customs, and with deliberate indifference to its duties and obligations
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     under the laws and Constitution of the United States including the Fourth and
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     Fourteenth amendments as herein alleged.
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     56.   Plaintiffs have no adequate remedy at law to prevent or prohibit Defendant Ada
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     County from continuing, and/or repeating, its unlawful and unconstitutional conduct and
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     policies, procedures, practices and/or customs, and lack of applicable training, in
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     conformance with constitutional law, other than through injunctive relief, and therefore
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     seek an order enjoining, prohibiting and mandating it from, but not limited to, the

18   following:

19   a.    From failing to establish, implement, and follow policies, procedures, practices
20   and customs, and training, which are consistent with the Constitution of the United
21   States and federal and state law as to the removal of children from the care and custody
22   of their parents and/or guardians. Specifically, Plaintiffs seek an order enjoining and
23   prohibiting Defendant Ada County, including its Sheriff’s Department, from removing
24   children from their parents and/or guardians, in the absence of court order or warrant,
25   without articulable evidence that the child is in imminent danger of serious bodily injury
26   in the time it would take to obtain a warrant, and that said Defendants must be able to
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     establish that removal is the least restrictive method available to protect the child.
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 1   b.       From failing to establish, implement, and follow policies, procedures, customs
 2   and practices, and training, which are consistent with the Constitution of the United
 3   States and federal and state law as to conducting medical procedures, including
 4   examinations and testing, of children while conducting dependency investigations and
 5   proceedings of minor children in alleged child abuse or neglect matters. Specifically,
 6   Plaintiffs seek an order enjoining and prohibiting said Defendant Ada County from
 7   conducting medical procedures, including examinations and testing, of children, in the
 8   absence of urgent medical need, warrant or court order, or parental consent, and by
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     giving notice to the parents.
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     c.       From failing to establish, implement, and follow policies, procedures, customs
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     and practices, and training, which are consistent with the Constitution of the United
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     States and federal and state law as to conducting medical procedures, including
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     examinations and testing, of children and providing parental presence during said
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     procedures, even when Court ordered, while conducting dependency investigations
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     and/or proceedings of minor children in alleged child abuse or neglect matters.
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     Specifically, Plaintiffs seek an order enjoining and prohibiting said Defendant Ada

18   County from conducting medical procedures, including examinations and testing, of

19   children without giving parents and children the right to have a parent present, or
20   nearby, when a child receives medical procedures, including examination and testing,
21   even when that medical procedure, including examination and testing, is ordered by the
22   Court.
23   d.       From failing to properly train its officers, agents and employees as to their
24   compliance with those principles mandated by the Fourth, and Fourteenth Amendments
25   to the United States Constitution and laws in their conduct of child abuse and neglect
26   investigations and proceedings, removal of children without a warrant, and including
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     medical procedures, including examinations and testing, and the right that a parent be
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     present during such procedures, including, but not limited to, those as to the right of

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 1   privacy, rights of parents as to the care and custody of their children without unjustified
 2   state interference, the rights of parents to make medical decisions for their children, the
 3   rights of children to be free from unwarranted searches and seizures and the right of
 4   children and parents for a parent to be present, or nearby, when their child is receiving
 5   medical attention.
 6   e.    From such other prohibited and unlawful conduct as set forth herein.
 7                                           PRAYER
 8   WHEREFORE, Plaintiffs request trial by jury and pray judgment against Defendants as
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     follows:
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     1.    That the District Court grant Plaintiffs’ request for relief under FRCP 60(d) and
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     set aside its prior Order on Motion to Dismiss Plaintiffs’ Second Amended Complaint’s
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     Fourth Cause of Action under Monell (UA Dkt. 64) and allow Plaintiffs to proceed with

14   this Independent Action;

15   2.    General damages and special damages according to proof;
16   3.    Injunctive Relief as allowed by law (including preliminary injunctive relief based
17   upon separate application);
18   4.    Attorney’s fees, costs and expenses pursuant to 42 U.S.C. §1988, and any
19         other appropriate statute;
20   5.    Costs of suit incurred herein;

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     6.    For a Jury Trial on all applicable issues; and

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     7.    Such further relief as the Court deems just and proper.

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     DATED: March 21, 2024           BEVIS, THIRY, HENSON & KATZ, P.A.
25
26                                   /s/ Ryan Henson
27
                                     RYAN HENSON, Attorney for Plaintiffs

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